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                                                UNITED STATES DISTRICT COURT
                                                 DISTRICT OF MASSACHUSETTS

 Keith Hobbs

                    v.                                              Civil Action No. 19-10408-NMG

 Commonwealth Servicing Group, LLC

                                            NOTICE OF SCHEDULING CONFERENCE
 An initial scheduling conference will be held in Courtroom No. 4               on the    3rd     floor at 2:15 p.            .m.
 on       6/19/19                              , in accordance with Fed. R. Civ. P. 16(b) and Local Rule 16.1. The court considers
 attendance of the senior lawyers ultimately responsible for the case and compliance with sections (B), (C), and (D) of Local Rule
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 16.1 to be of the utmost importance. Counsel may be given a continuance only if actually engaged on trial. Failure to comply
 fully with this notice and with sections (B), (C), and (D) of Local Rule 16.1 may result in sanctions under Local Rule 1.3. Counsel
 for the plaintiff is responsible for ensuring that all parties and/or their attorneys, who have not filed an answer or appearance with
 the court, are notified of the scheduling conference date.


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      These sections of Local Rule 16.1 provide:
         (B) Obligation of counsel to confer. Unless otherwise ordered by the judge, counsel for the parties shall, pursuant to
 Fed.R.Civ.P. 26(f), confer no later than twenty one (21) days before the date for the scheduling conference for the purpose of:

          (1) preparing an agenda of matters to be discussed at the scheduling conference,
          (2) preparing a proposed pretrial schedule for the case that includes a plan for discovery, and
          (3) considering whether they will consent to trial by magistrate judge.

           (C) Settlement proposals. Unless otherwise ordered by the judge, the plaintiff shall present written settlement proposals
 to all defendants no later than ten (10) days before the date for the scheduling conference. Defense counsel shall have conferred
 with their clients on the subject of settlement before the scheduling conference and be prepared to respond to the proposals at the
 scheduling conference.

         (D) Joint statement. Unless otherwise ordered by the judge, the parties are required to file, no later than five (5) business
days before the scheduling conference and after consideration of the topics contemplated by Fed.R.Civ.P. 16(b) and 26(f), a joint
statement containing a proposed pretrial schedule, which shall include:

         (1) a joint discovery plan scheduling the time and length for all discovery events, that shall
                   (a) conform to the obligation to limit discovery set forth in Fed. R. Civ. P. 26(b), and
                   (b) take into account the desirability of conducting phased discovery in which the first phase is
                   limited to developing information needed for a realistic assessment of the case and, if the case
                   does not terminate, the second phase is directed at information needed to prepare for trial; and
         (2) a proposed schedule for the filing of motions; and
          (3) certifications signed by counsel and by an authorized representative of each party affirming that each party and that
party's counsel have conferred:
                   (a) with a view to establishing a budget for the costs of conducting the full course--and various
                   alternative courses--of the litigation; and
                   (b) to consider the resolution of the litigation through the use of alternative dispute resolution programs such as
                   those outlined in Local Rule 16.4. Electronic signatures of such authorize
                   representatives are acceptable but the filing thereof will be deemed to certify that counsel have actual signatures
                   in their possession.
          To the extent that all parties are able to reach agreement on a proposed pretrial schedule, they shall so indicate. To the
extent that the parties differ on what the pretrial schedule should be, they shall set forth separately the items on which they differ
and indicate the nature of that difference. The purpose of the parties' proposed pretrial schedule or schedules shall be to advise the
judge of the parties' best estimates of the amounts of time they will need to accomplish specified pretrial steps. The parties'
proposed agenda for the scheduling conference, and their proposed pretrial schedule or schedules, shall be considered by the judge
as advisory only.


(Sched Conf Notice.wpd - 12/00)
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5/10/19
          Date                                       United States District Judge Gorton

                                                     By: /s/ Christine Lima
                                                              Deputy Clerk
